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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

    UBIQUITI NETWORKS, INC.,

                               Plaintiff,


                          v.

                                                           Civil Action No.: 1:18-cv-05369
    CAMBIUM NETWORKS, INC.;
    CAMBIUM NETWORKS, LTD.;                                JURY TRIAL DEMANDED
    BLIP NETWORKS, LLC;
    WINNCOM TECHNOLOGIES, INC.;
    SAKID AHMED; and
    DMITRY MOISEEV

                               Defendants.


                                    JOINT STATUS REPORT

       Plaintiff Ubiquiti Inc. (f/k/a Ubiquiti Networks, Inc.) (“Ubiquiti”), by and through its

undersigned counsel, and Defendants Cambium Networks, Inc., Cambium Networks, Ltd., Blip

Networks, LLC, Winncom Technologies, Inc., Sakid Ahmed, and Dmitry Moiseev

(“Defendants”) (collectively Defendants and Ubiquiti are referred to as the “Parties”), by and

through their undersigned counsel, respectfully submit this Joint Status Report pursuant to the

Court’s order that the Parties report on logistics for the disclosure of the 18 Files. Dkt. 170.

       Defendants, through their expert Mr. Atif Hashmi, inspected Ubiquiti’s source code in

the Palo Alto, CA office of Simpson, Thacher & Bartlett LLP on June 25th, 29th, and 30th, and

are scheduled to continue their inspection July 7th – 10th at the same location. The facilities for

inspection comply with all relevant regulations and laws governing health and safety standards

for professional facilities and strict sanitation and social distancing procedures are enforced. In

addition, Defendants’ expert is required to respond to a health questionnaire within 24 hours of
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entering the inspection site as a condition to accessing the facilities (which can be done by

stating that none of a listed set of COVID-19 symptoms are present and that no contact was had

with someone who has).

        The Parties provide the following position statements regarding the materials made

available in connection with Ubiquiti’s production of the 18 Files and about the Parties’

continued discussions regarding Defendants’ preferred location for inspection of Ubiquiti’s

source code.

I.      Plaintiff’s Position

        Ubiquiti has fully complied with the terms of the Protective Order and the parties’

meet/confer agreements concerning the production of responsive source code for review by

Defendants’ expert. To date, Defendants’ expert has conducted a review of Ubiquiti’s source

code for three days (he unilaterally canceled a fourth), and is scheduled to conduct further review

for four more days this week.

        On the afternoon of Friday, July 3rd (an observed federal holiday) and at 10:44 p.m.

central on Sunday, July 5th, counsel for Defendants raised certain matters regarding the source

code production that Defendants now seek to address in this status report. The parties have not

yet been able to meet/confer on these issues, and thus Ubiquiti has objected to Defendants’

efforts to prematurely raise these matters in this status report. Furthermore, it is Ubiquiti’s

understanding that these matters will not impact Defendants’ ability to comply with the schedule

established by Magistrate Judge Cummings for the parties’ exchange and submission of pre-

settlement conference letters. Nevertheless, Ubiquiti submits the enclosed preliminary response,

as follows:




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       (1) Location of Review: Defendants’ position statement seeks to criticize Ubiquiti for

not having established a review location in Las Vegas, Nevada—rather than the current location

of Palo Alto, California. To accommodate Defendants, Ubiquiti engaged a separate law firm to

host source code production at the preferred location first identified by Defendants (Palo Alto),

which location is across the country from the jurisdiction of this litigation and the offices of its

counsel of record (Chicago). That office (Simpson Thacher) is small and technically closed due

to COVID-19. Thus Ubiquiti was required to enlist the efforts of an attorney (Michael Morey) to

monitor the review by Defendants’ expert. Defendants regularly requested dates with less than a

week’s notice, and Ubiquiti and Mr. Morey have worked to accommodate those requests in good

faith. Such coordination—given the COVID-19 circumstances and source code review tools

Defendants requested that container developer-acknowledged conflicts with standard Microsoft

libraries—has required substantial time and effort by Ubiquiti’s counsel of record (and Mr.

Morey). As noted above, Defendants’ expert has reviewed source code in Palo Alto for multiple

days, and is scheduled to review code in this location for four more days this week. Defendants

have provided no end to the days in July, August, and going forward to their review in Palo Alto.

In light of the ongoing and open-ended (i.e., not interim) review taking place in Palo Alto and the

fact that Ubiquiti does not have a present relationship with any law firm with offices in Las

Vegas, Ubiquiti’s counsel recommended, on June 24th, that the parties defer making concrete

plans to review source code in Las Vegas until Defendants made plans to switch locations from

Palo Alto to Las Vegas. Defendants did not respond to this proposal until on the afternoon of

July 3rd. Ubiquiti shall continue to confer in good faith with Defendants regarding the location

for review of source code in full compliance with the terms of the Protective Order. However,

there exists no basis for Defendants to object to the process followed to date.


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         (2) Meet/Confer Issues re: Source Code Production: Defendants have raised other

inquiries regarding Ubiquiti’s source code production—some of which were raised for the first

time on the afternoon of Friday, July 3rd (an observed federal holiday), and others of which were

raised for the first time in the late-night e-mail received Sunday, July 5th, which demanded a

response by no later than 10:00 a.m. central the following morning. Ubiquiti immediately

committed to respond in writing to address each of these matters, but reasonably objected to the

artificial and untimely deadline for that response to be provided. Ubiquiti further notes that these

inquiries do not pertain to logistical matters, and thus are not proper to be raised in this “status

report regarding logistics for the disclosure of the 18 Files.” Dkt. No. 170. Ubiquiti hereby

confirms that it shall timely respond to each of these inquiries, and in the event that an impasse is

reached, the parties may then address those matters with the Court.

II.      Defendants’ Position

            A.      Ubiquiti’s Disclosure and Identification of the 18 Files

         Ubiquiti appears to have produced and identified the source code for each version of most

of the 18 Files (with two exceptions discussed in more detail below) and has produced several

representative versions of the entire code base for the AirOS firmware (including the source code

files not included in the 18 Files). The corresponding source code for each version of the 18 Files

is set out in a separate folder that, in most cases, corresponds directly to the module names

identified in the First Amended Complaint (Dkt. 65 (“FAC”), ¶¶37, 39). However, Ubiquiti has

also included an additional folder in its disclosure of the 18 Files that appears to contain source

code for an additional File (a 19th File) that was not listed in the FAC.1 In addition, Ubiquiti has



1
        Defendants omit the name of that module from this status report as it was ascertained in
the review of confidential source code, and instead refer to that additional module here as the
“19th File”.
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not produced any folder that is readily identifiable as containing “Ubiquiti’s proprietary

compilations of data contained in its calibration and configuration files of the Firmware” as

alleged to be part of Ubiquiti’s “Proprietary Firmware” in the FAC (see Dkt. 65, ¶39).

       The below table summarizes Defendants’ current understanding of the materials

produced by Ubiquiti in disclosing the 18 Files:

                      File Name                    Ubiquiti Appears to      Identified in
                                                    Have Produced?           the FAC?
         ubnthal                                           Yes                  Yes
         ubnt-regd                                         Yes                  Yes
         ubnt-web                                          Yes                  Yes
         ubnt-cgi                                          Yes                  Yes
         ubnt-poll                                         Yes                  Yes
         ubnt-spectral                                     Yes                  Yes
         ubnt-spectral2                                    Yes                  Yes
         ubntbox                                           Yes                  Yes
         ubntconf_cl.sh                                    Yes                  Yes
         ubnt-3g                                           Yes                  Yes
         ubnt-base-files                                   Yes                  Yes
         ubnt-poe-control                                  Yes                  Yes
         ar7240-u-boot                                     Yes                  Yes
         ubntxn-u-boot                                     Yes                  Yes
         ubntxn-400-u-boot                                 Yes                  Yes
         ubntwasp-u-boot                                   Yes                  Yes
         ubnttitanium-u-boot                               Yes                  Yes
         atheros-11n                                       Yes                  Yes
         “configuration and calibration files”             NO                   Yes
         the 19th File                                     Yes                  NO

Thus, Ubiquiti has not identified or disclosed the “configuration and calibration files” it asserts,

and now identifies a 19th File that was not identified in the FAC.

       Defendants seek to bring these matters to the Court’s attention at this preliminary stage

because Defendants are presently not able to certify that Ubiquiti has clearly disclosed and

identified the corresponding materials for each module asserted in the FAC (and now appears to




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identify an additional module without explanation2). Defendants’ review is at its initial stages

and Defendants will continue to work with Ubiquiti to resolve these and other questions raised

during the review.

            B.       Ubiquiti Has Failed to Accommodate Defendants’ Preferred Location for
                     Inspection Thus Far

        Defendants identified Las Vegas, Nevada as their preferred location for inspection of

Ubiquiti’s source code under the Protective Order in this case (Dkt. 154), but Ubiquiti has so-far

failed to accommodate any inspection there and has not provided Defendants with any update as

to its investigation into a conforming review location since mid-June. In the meantime, in the

interest of accelerating Ubiquiti’s disclosure of the 18 Files, Defendants tentatively agreed to

perform their initial source code inspection in Palo Alto, CA, which was to serve as an interim

review location while the Parties negotiated a permanent site for review that would allow

Defendants’ preferred expert, Mr. Bob Zeidman, to conduct the remainder of the review in Las

Vegas. The Parties continue to discuss logistics for transferring review sites to Las Vegas and

Defendants seek to do so as soon as a conforming location is proposed by Ubiquiti.

        Specifically, the Protective Order sets out a process for designating a “preferred location”

of the receiving party (Defendants) and requires the producing party (Ubiquiti) to name a

“Designated Office” for inspection within a “location that is reasonably accessible by the

Receiving party’s expert without requiring air travel or extended driving.” Dkt. 154 §13(a)(1).



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         Defendants repeatedly requested Ubiquiti to provide an explanation of these issues in
connection with this joint status report, but Ubiquiti refused. Instead Ubiquiti insisted that these
matters should be raised as “contested issues” in separate position statements in this joint status
report. It is not clear why Ubiquiti’s identification and disclosure of a 19th File that is clearly not
listed in the FAC and failure to identify a folder containing “calibration and configuration files”
would amount to a “contested issue” requiring separate positions, but Defendants nevertheless
submit this statement blindly—without access to Ubiquiti’s position—in accordance with
Ubiquiti’s request.
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Defendants first identified Las Vegas, Nevada as their “preferred location” during a meet and

confer in mid-March (in requesting at-home review of their preferred expert), and formally under

the terms of the newly entered Protective Order by email on June 8, 2020. However, no review

site that is reasonably accessible to Defendants’ preferred expert in or near Las Vegas has been

identified as of the last discussion between the Parties.




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Dated: July 6, 2020                                  Respectfully submitted,



FOX, SWIBEL, LEVIN & CARROLL, LLP                  BAKER BOTTS L.L.P.

/s/ Steven J. Reynolds                             /s/ G. Hopkins Guy, III
Steven J. Reynolds (ARDC #6293634)                 G. Hopkins Guy, III (CA Bar No. 124811)
sreynolds@foxswibel.com                            Jon V. Swenson (CA Bar No. 233054)
David Koropp (ARDC #6201442)                       Karina Smith (CA Bar No. 286680)
dkoropp@foxswibel.com                              1001 Page Mill Road
Erik J. Ives (ARDC #6289811)                       Building One, Suite 200
eives@foxswibel.com                                Palo Alto, CA 94304-1007
Steven L. Vanderporten (ARDC # 6314184)            650.739.7500 (Telephone)
svanderporten@foxswibel.com                        650.739.7699 (Facsimile)
Fox Swibel Levin & Carroll LLP                     hop.guy@bakerbotts.com
200 W. Madison St., Suite 3000                     jon.swenson@bakerbotts.com
Chicago, IL 60606                                  karina.smith@bakerbotts.com


Attorneys for Plaintiff Ubiquiti Inc., f/k/a       Local Counsel:
Ubiquiti Networks, Inc.
                                                   James P. Fieweger (Bar ID No. 6206915)
                                                   Michael Best & Friedrich, LLP
                                                   444 W. Lake Street. Suite 3200
                                                   Chicago, IL 60606
                                                   312.222.0800 (Telephone)
                                                   jpfieweger@michaelbest.com

                                                   Arthur Gollwitzer, III (Bar ID No. 6225038)
                                                   Michael Best & Friedrich, LLP
                                                   2801 Via Fortuna, Suite 300
                                                   Austin, Texas 78746
                                                   512.640.3160 (Telephone)
                                                   agollwitzer@michaelbest.com

                                                   Attorneys for Defendants Cambium Networks,
                                                   Inc. et. al




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                               CERTIFICATE OF SERVICE

        I hereby certify that on July 6, 2020, I electronically filed the foregoing JOINT STATUS
REPORT with the Clerk of the Court using the CM/ECF system. I certify that all participants in
the case are registered CM/ECF users.


                                                   /s/ G. Hopkins Guy, III
                                                   G. Hopkins Guy, III




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